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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA            *
                                      *
                                      *
                                      *
        v.                            *      Criminal Action No. 21-175
                                      *
                                      *
                                      *
  ZACHARY REHL                        *
______________________________________________________________________________


                          DECLARATION OF ALISHA GALLAGHER


        I, Alisha Gallagher, do hereby declare, certify and state as follows:

        1.     I am a Senior Attorney, employed by the United States Department of Justice,

Federal Bureau of Prisons, Federal Detention Center (“FDC”) in Philadelphia, Pennsylvania. In

my official capacity, I have access to most records regarding federal prisoners maintained in the

ordinary course of business in the BOP. This information includes, but is not limited to, Inmate

Central Files, and computerized records maintained on the Bureau of Prisons computerized data

base.

        2.     Defendant Zachary Rehl was housed at FDC Philadelphia from March 17, 2021,

until November 7, 2022 while awaiting court proceedings. See Attachment 1, History of

Admissions and Releases.

        3.     All Bureau of Prisons facilities have the Trust Fund Limited Computer Systems

(TRULINCS), which provides inmates with a computer system to use the electronic law library,

print documents and mailing labels, add contacts to their phone and email lists, send money and

use public messaging. These computers do not have access to the internet.


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       4.      When inmates login into the TRULINCS and electronic messaging system, they

consent to monitoring and information retrieval. They acknowledge there is no expectation of

privacy as to any communication on or information stored within the system. The inmates also

acknowledge that they understand and consent that the monitoring and information retrieval

applies to electronic messages both to and from the inmate’s attorney or other legal

representative, and that such electronic messages will not be treated as privileged

communications. The inmates also acknowledge that they understand that they have alternative

methods of conducting privileged legal communication. See Attachment 2, TRULINCS and

Electronic Messaging Terms of Use.

       5.      The public messaging feature allows inmates to exchange emails with a person in

the community. Inmates may only exchange emails with contacts who have accepted the

inmate’s request to communicate. See Attachment 3, Program Statement 5400.12, Trust

Fund/Deposit Manual1, p. 134.

       6.      To gain access to the CorrLinks system, the contact is sent a system-generated

email that states that a federal inmate seeks to add the person to his or her authorized contact list.

The contact may agree to receive emails or refuse or ignore the inmates’ request. By accepting

the invitation to receive emails, the person in the community consents to have BOP staff monitor

the content of all emails and agrees to comply with the rules. See Attachment 4, System

Generated Message from CorrLinks.

       7.      The BOP uses CorrLinks as its public messaging system. The terms and

conditions for the Corrlinks system state that CorrLinks staff may access the content on the

service and all information and content about messages are accessible for review and or



1 BOP Program Statements are publicly available at www.bop.gov.
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download by the Agency responsible for a particular inmate. See Attachment 5, Terms and

Conditions of CorrLinks.

       Attached hereto, please find true and correct copies of the following documents:

              1. Inmate History of Admissions and Releases;

              2. TRULINCS and Electronic Messaging Terms of Use;

              3. Program Statement 5400.12, Trust Fund/Deposit Manual;

              4. System Generated Message from CorrLinks;

              5. Terms and Conditions of CorrLinks.

       I declare that the foregoing is true and correct to the best of my knowledge and belief,

and is given under penalty of perjury pursuant to 28 U.S.C. § 1746 this March 20, 2023.



                                                     RESPECTFULLY SUBMITTED,



                                                     _____________________________
                                                     ALISHA GALLAGHER
                                                     Senior Attorney




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